     Case: 20-50314    Document: 00515388333 Page: 1 Date Filed: 04/20/2020
         Case 1:20-cv-00323-LY Document 93 Filed 04/20/20 Page 1 of 5




          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
                           _______________________           United States Court of Appeals
                                                                      Fifth Circuit

                                No. 20-50314                        FILED
                           _______________________              April 20, 2020
                                                               Lyle W. Cayce
                         D.C. Docket No. 1:20-CV-323                Clerk


SOUTHWESTERN WOMEN'S SURGERY CENTER; BROOKSIDE
WOMEN'S MEDICAL CENTER, P.A., doing business as Brookside Women's
Health Center and Austin Women's Health Center; ROBIN WALLACE, M.D.,
M.A.S.; HOUSTON WOMEN'S CLINIC; PLANNED PARENTHOOD
CENTER FOR CHOICE; PLANNED PARENTHOOD OF GREATER TEXAS
SURGICAL HEALTH SERVICES; PLANNED PARENTHOOD SOUTH
TEXAS SURGICAL CENTER; WHOLE WOMAN'S HEALTH; WHOLE
WOMAN'S HEALTH ALLIANCE,

            Plaintiffs - Appellees

v.

GREG ABBOTT, GOVERNOR OF THE STATE OF TEXAS, in his official
capacity; KEN PAXTON, in his official capacity as Attorney General of Texas;
PHIL WILSON, in his official capacity as Acting Executive Commissioner of
the Texas Health and Human Services Commission; STEPHEN BRINT
CARLTON, in his official capacity as Executive Director of the Texas Medical
Board; KATHERINE A. THOMAS, in her official capacity as the Executive
Director of the Texas Board of Nursing,

            Defendants – Appellants


             Appeal from the United States District Court for the
                          Western District of Texas
    Case: 20-50314    Document: 00515388333 Page: 2 Date Filed: 04/20/2020
        Case 1:20-cv-00323-LY Document 93 Filed 04/20/20 Page 2 of 5




Before DENNIS, ELROD, and DUNCAN, Circuit Judges.

                             JUDGMENT

     This cause was considered on emergency motion to for stay.

      It is ordered and adjudged that the appeal is dismissed for lack of
jurisdiction.




                                             Certified as a true copy and issued
                                             as the mandate on Apr 20, 2020
                                             Attest:
                                             Clerk, U.S. Court of Appeals, Fifth Circuit
     Case: 20-50314    Document: 00515388334 Page: 1 Date Filed: 04/20/2020
         Case 1:20-cv-00323-LY Document 93 Filed 04/20/20 Page 3 of 5




        IN THE UNITED STATES COURT OF APPEALS
                 FOR THE FIFTH CIRCUIT    United States Court of Appeals
                                                   Fifth Circuit

                                                                   FILED
                                                                 April 20, 2020
                                No. 20-50314
                                                                 Lyle W. Cayce
                                                                      Clerk
SOUTHWESTERN WOMEN'S SURGERY CENTER; BROOKSIDE
WOMEN'S MEDICAL CENTER, P.A., doing business as Brookside Women's
Health Center and Austin Women's Health Center; ROBIN WALLACE, M.D.,
M.A.S.; HOUSTON WOMEN'S CLINIC; PLANNED PARENTHOOD
CENTER FOR CHOICE; PLANNED PARENTHOOD OF GREATER TEXAS
SURGICAL HEALTH SERVICES; PLANNED PARENTHOOD SOUTH
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v.

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Director of the Texas Board of Nursing,

            Defendants - Appellants




              Appeal from the United States District Court for
                       the Western District of Texas
                          USDC No. 1:20-CV-323
     Case: 20-50314    Document: 00515388334 Page: 2 Date Filed: 04/20/2020
         Case 1:20-cv-00323-LY Document 93 Filed 04/20/20 Page 4 of 5


                                      No. 20-50314


Before DENNIS, ELROD, and DUNCAN, Circuit Judges.
PER CURIAM:*
       Defendants-Appellants appeal the order entered by the district court on
April 9, 2020 and extended on April 14, 2020. Temporary restraining orders
are not appealable; however, an order styled a temporary restraining order
may be appealed if its “actual content, purport, and effect” is that of a
preliminary injunction. Smith v. Grady, 411 F.2d 181, 186 (5th Cir. 1969); see
also 28 U.S.C. § 1292. We conclude that the orders involved here are properly
understood as an extended temporary restraining order and that we lack
jurisdiction over the appeal. Accordingly, we DISMISS this appeal for want of
jurisdiction and DENY AS MOOT the emergency motion to stay.




       * Pursuant to 5TH CIR. R. 47.5, the court has determined that this opinion should not
be published and is not precedent except under the limited circumstances set forth in 5TH
CIR. R. 47.5.4.

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      Case: 20-50314    Document: 00515388338 Page: 1 Date Filed: 04/20/2020
          Case 1:20-cv-00323-LY Document 93 Filed 04/20/20 Page 5 of 5




                     United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK

LYLE W. CAYCE                                                  TEL. 504-310-7700
CLERK                                                       600 S. MAESTRI PLACE,
                                                                    Suite 115
                                                           NEW ORLEANS, LA 70130

                               April 20, 2020


Ms. Jeannette Clack
Western District of Texas, Austin
United States District Court
501 W. 5th Street
Austin, TX 78701-0000

       No. 20-50314     Planned Parenthood Center, et al v. Greg
                        Abbott, Governor of TX, et al
                        USDC No. 1:20-CV-323


Dear Ms. Clack,
Enclosed is a copy of the judgment issued as the mandate and a
copy of the court's opinion.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk



                                   By: _________________________
                                   Peter A. Conners, Deputy Clerk
                                   504-310-7685
cc:
       Mrs. Molly Rose Duane
       Ms. Heather Gebelin Hacker
       Mr. Kyle Douglas Hawkins
       Ms. Julie A. Murray
       Ms. Jennifer Sandman
       Mr. Andre Segura
       Ms. Rupali Sharma
       Mr. Andrew Bowman Stephens
       Ms. Hannah Swanson
       Mrs. Natalie Deyo Thompson
       Ms. Stephanie Toti
